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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 CARROLL INDEPENDENT SCHOOL                   §
 DISTRICT,                                    §
                                              §
         Plaintiff,                           §
                                              §
 v.                                           §
                                              §
 UNITED STATES DEPARTMENT OF §
 EDUCATION; MIGUEL CARDONA,                   §
 in his official capacity as Secretary of the §
 United States Department of Education; §
 CATHERINE E. LHAMON, in her                  §
 official capacity as Assistant Secretary     §
 for Civil Rights at the United States            Civil Action No. 4:24-cv-00461-O
                                              §
 Department of Education; UNITED              §
 STATES DEPARTMENT OF                         §
 JUSTICE; MERRICK B. GARLAND,                 §
 in his official capacity as Attorney         §
 General of the United States; and            §
 KRISTEN CLARKE, in her official              §
 capacity as Assistant Attorney General       §
 for the Civil Rights Division of the         §
 United States Department of Justice,         §
                                              §
         Defendants.                          §




                                           ORDER

       Before the Court is Defendants’ Unopposed Motion for Leave to Exceed Page Limit (ECF

No. 61), filed August 30, 2024. Noting that the motion is unopposed and finding good cause

therein, the Court ORDERS that the Motion should be and is hereby GRANTED.

       SO ORDERED on this 3rd day of September, 2024.


                                            _____________________________________
                                            Reed O’Connor
                                            UNITED STATES DISTRICT JUDGE
